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     Leo Shalit, Esq.


                                                                           March 29, 2023
     Hon. James Cho
     225 Cadman Plaza East
     Brooklyn, NY 11201

     Re: Third Party Action Safa Gelardi and Companions, LLC v. Carlos Roa
     Case: 1:22-CV-1032 (PKC)(JRC)

     Dear Judge Cho:

     I write this letter with the consent of Opposing counsel, Jonathan Warner.

     I am requesting an extension to submit the joint Settlement position letter which is
     currently due on April 4, 2023. I am requesting an extension through April 14, 2023.

     The reason for the request is two fold. There are developments in the case, namely
     the extension in of the injunction as a result of the hearing from this Monday March
     29, 2023.

     Additionally, due to personal reasons, I may be out of the of ice for the next fews
     days and need additional time to confer between all the parties.

     I respectfully request an extension through April 14, 2023.

     Yours truly,


     Leo Shalit, Esq.

     Leo Shalit, Esq.




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